Case 1:21-cv-00332-PAB-SKC Document 28 Filed 11/18/21 USDC Colorado Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-00332-PAB-SKC

  JOHN M. WELLS , individually and as trustee for The Wells Revocable Trust, and
  VALORIE WELLS , as trustee for The Wells Revocable Trust
         Plaintiffs,

  v.

  CITY OF BOULDER , and
  NURIA RIVERA-VANDERMYDE , city manager, City of Boulder, in her official
       capacity,

         Defendants.


                                     STIPULATION

         Under D.C.COLO.LCivR 6.1, the parties hereby stipulate that Plaintiffs may have

  an additional fourteen days (i.e., until December 20, 2021) in which to respond to

  Defendants’ First Set of Interrogatories, Requests for Admissions, and Requests for

  Production of Documents. Consistent with the same rule, the undersigned certify that

  this stipulation is being contemporaneously served on their clients.



  s/ Daniel E. Burrows                                s/ Sandra M. Llanes
  Daniel E. Burrows                                   Sandra M. Llanes
  Public Trust Institute                              Boulder City Attorney’s Office
  98 Wadsworth Blvd. #127-3071                        1777 Broadway
  Lakewood, CO 80226                                  Boulder, CO 80302
  Telephone: (720) 588-2008                           Telephone: (303) 441-3020
  E-mail: dburrows@publictrustinstitute.org           E-mail: llanes@bouldercolorado.gov
  Attorney for Plaintiffs                             Attorney for Defendants
                                                      (E-MAIL AUTHORIZATION)
